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                UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL                         Civil Action No. 1:24-cv-00896-JFS
PROTECTION BUREAU,

            Plaintiff,                     (Judge Saporito)

            v.

PENNSYLVANIA HIGHER
EDUCATION ASSISTANCE
AGENCY,

            Defendant.


                          Plaintiff’s Notice of Dismissal

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Plaintiff,

Consumer Financial Protection Bureau, dismisses this action against Defendant

Pennsylvania Higher Education Assistance Agency, with prejudice.

      DATED: February 27, 2025
                                      Respectfully Submitted,
                                      Mark Paoletta
                                      Chief Legal Officer

                                      Daniel Shapiro
                                      Deputy Chief Legal Officer
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